Case 3:23-cv-01414-RFL Document 132-4 Filed 07/02/24 Page 1 of 4




                     EXHIBIT 3
                                Arnold132-4
     Case 3:23-cv-01414-RFL Document   P. Moore
                                             Filed 07/02/24 Page 2 of 4
                                 May 29, 2024

1                      UNITED STATES DISTRICT COURT
2                     NORTHERN DISTRICT OF CALIFORNIA
3                                       --o0o--
4
5    STEPHANIE SMARGISSO, individually                     Case No.:
     and as successor-in-interest to                       4:23-CV-01414-HSG
6    Decedent WILLIAM ANKIEL JR.,
     et al.,
7
                  Plaintiffs,
8
     vs.
9
     AIR & LIQUID SYSTEMS CORPORATION
10   (sued individually and as
     successor-in-interest to
11   BUFFALO PUMPS, INC.), et al.,
12                Defendants.
     _________________________________/
13
14
15
16                REMOTE EXPERT WITNESS DEPOSITION OF
17                             ARNOLD P. MOORE, PE
18                           SAN PEDRO, CALIFORNIA
19                                 MAY 29, 2024
20
21
22
23
24   REPORTED BY:      CARI L. GONZAGA, CSR NO. 12401
25   FILE NO.:     6719278

                                                                  Page 1

                                Veritext Legal Solutions
                        calendar-abi@veritext.com 818-551-7300   www.veritext.com
                                Arnold132-4
     Case 3:23-cv-01414-RFL Document   P. Moore
                                             Filed 07/02/24 Page 3 of 4
                                 May 29, 2024

1            A.   Certainly, that's where the individual sailors

2    doing the work would obtain the replacement parts.              If

3    they weren't available in the stores, then supply

4    department aboard that ship would have been responsible

5    for finding the materials for that sailor.

6            Q.   In turn, the ships stores would obtain

7    replacement gaskets or replacement packing through a

8    land-base Naval supply warehouse, true?

9            A.   Yes, that's where they most commonly obtain

10   their material.

11           Q.   And in turn, again, the land-base Naval supply

12   warehouse would obtain replacement gaskets or

13   replacement packing directly from the manufacturers of

14   gaskets and packing based upon a bulk contract

15   negotiated by the Navy to obtain a quantity discount,

16   true?

17           A.   That's where the Navy obtains some of their

18   replacement gaskets and packing, but as I've cited in my

19   report, there's numerous examples of the Navy including

20   the ships parts control center and mechanics of

21   obtaining gaskets and packing directly from machinery

22   manufacturer.

23           Q.   The Navy knew it was going to be needing or

24   using in the regular maintenance of its ships and the

25   equipment aboard the ships gaskets and packing, true?

                                                                 Page 32

                                Veritext Legal Solutions
                        calendar-abi@veritext.com 818-551-7300   www.veritext.com
                                Arnold132-4
     Case 3:23-cv-01414-RFL Document   P. Moore
                                             Filed 07/02/24 Page 4 of 4
                                 May 29, 2024

1    would have access in membership to prepare the Manual.

2         Q.     The United States Navy also had other

3    documents that it provided to its sailors Rate

4    Advancement Manuals, true?

5         A.     Correct.

6         Q.     And there were Rate Advancement Manuals for

7    people working in the fire room or boiler room, true?

8         A.     There were Rate Advancement Manuals for Boiler

9    Technicians that were earlier called boiler men, yes.

10        Q.     So what, if anything, prevents the United

11   States Navy from including an asbestos cautionary

12   statement in the Rate Advancement Training Manuals for

13   Boiler Technicians in 1975?

14        A.     Again, my opinion is that the Navy, at that

15   point in time, was concerned primarily about the health

16   of shipyard insulators and did not, at that point in

17   time, believe that that sort of occasional exposure to

18   sailors was likely going to result in disease.

19               They did change their mind as you moved

20   through the 1970s, and I've covered some of those

21   documents in my report.

22        Q.     You would agree with me that if, as of

23   November of 1922, the Navy had identified asbestos dust

24   as an inorganic dust health hazard and also identified

25   four effective methods to prevent inhalation of asbestos

                                                                 Page 47

                                Veritext Legal Solutions
                        calendar-abi@veritext.com 818-551-7300   www.veritext.com
